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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   DONALD J. TRUMP                                         Case No.: 2:22-cv-14102-DMM

                         Plaintiff,

          v.
                                                         DECLARATION OF ALINA HABBA, ESQ.
   HILLARY R. CLINTON, HFACC, INC.,
   DEMOCRATIC NATIONAL COMMITTEE,
   DNC SERVICES CORPORATION, PERKINS
   COIE, LLC, MICHAEL SUSSMANN, MARC
   ELIAS, DEBBIE WASSERMAN SCHULTZ,
   CHARLES HALLIDAY DOLAN, JR., JAKE
   SULLIVAN, JOHN PODESTA, ROBERT E.
   MOOK, PHILLIPE REINES, FUSION GPS,
   GLENN SIMPSON, PETER FRITSCH,
     NELLIE OHR, BRUCE OHR, ORBIS
   BUSINESS INTELLIGENCE, LTD.,
   CHRISTOPHER STEELE, IGOR DANCHENKO,
   NEUSTAR, INC., RODNEY JOFFE, JAMES
   COMEY, PETER STRZOK, LISA PAGE,
   KEVIN CLINESMITH, ANDREW MCCABE,
   JOHN DOES 1 THROUGH 10 (said names
   being fictious and unknown persons), and
   ABC CORPORATIONS 1 THROUGH 10 (said
   names being fictitious and unknown entities),
   ,

                         Defendants.


      I, Alina Habba, pursuant to 28 U.S.C. § 1746, declare as follows:

          1.      I am managing partner of the firm of Habba Madaio & Associates LLP, counsel for

   Donald J. Trump (“Plaintiff”) in the above-captioned matter (the “Action”).

          2.      As counsel for Plaintiff, I have reviewed pleadings, and other documents related to

   the Action, and I am familiar with the facts and circumstances of this case.




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          3.     I submit this declaration in support of Plaintiffs’ Memorandum of Law in

   Opposition to Orbis Business Intelligence LTD’s Motion to Dismiss and in support of Plaintiff’s

   Cross-Motion for Alternative Service. The facts herein are true and correct and, unless otherwise

   stated, are within my personal knowledge.

          4.     Attached hereto as Exhibit A is a true and accurate copy of the request to the

   Central Authority of the United Kingdom on April 19, 2012, and the corresponding Certificate of

   Service dated August 12, 2022, as was filed on September 1, 2022 (ECF Doc. No. 261).




   Dated: September 1, 2022                    By:     __________________________________
                                                       Alina Habba, Esq.
                                                       HABBA MADAIO & ASSOCIATES LLP
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                                                       Bedminster, New Jersey 07921
                                                       -and-
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                                                       Donald J. Trump




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